          Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 1 of 21



                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


[1] A.V.R, a permanently disabled child with
spina bifida and hydrocephalus.
                                                              CIVIL ACTION
[2] Widallys Rivera Quiñones, solely on behalf
of her minor child, A.V.R.                                  3:16-cv-02625-PAD

     Plaintiff,

v.

[1] Libreria Regional: La Casa del Maestro y el
Estudiante, Inc.
[2] City of Bayamon
[3] Commonwealth of Puerto Rico
[4] Beauty Solutions Beauty Supplies
[5] Chegüis Pub
[6] Libreria El Regional
[7] Instituto de Terapia Integral
[8] H & R Block
[9] Expreso Cash Service, Inc.
[10] Tu Gas
[11] Aurofa Tire Center
[12] Laboratorio Lomas Verdes
     Defendants.


                                AMENDED COMPLAINT
                  (AS A MATTER OF COURSE PURSUANT TO FED. R. CIV. P. 15)

1.      This is a civil rights action by plaintiff A.V.R., a minor with disabilities, and

        (“Plaintiff”) for discrimination at the buildings, structures, facilities, complex,




                                               1
 Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 2 of 21



properties, lands, developments, and/or surrounding businesses complex,

known as:

            Public Sidewalk
            Laurel Avenue (North Sidewalk)
            From Laurel Ave Esq. Bellisima (18.376608, -66.146890) to
            Laurel Ave. Esq. Nogal (18.374999, -66.149061)
            Bayamon, Puerto Rico
            See image below




            Beauty Solutions Beauty Supplies
            Laurel Avenue
            Bayamon, Puerto Rico

            Chegüis Pub
            Laurel Avenue
            Bayamon, Puerto Rico

            Libreria El Regional
            Laurel Avenue
            Bayamon, Puerto Rico
            (excluding the operator of the Facility,
            Libreria Regional: La Casa del Maestro y el Estudiante, Inc.)

            Instituto de Terapia Integral
            Laurel Avenue
            Bayamon, Puerto Rico

            H & R Block
            Laurel Avenue
            Bayamon, Puerto Rico

            Expreso Cash Service Inc.
            Laurel Avenue
            Bayamon, Puerto Rico
            (Hereinafter, Expreso Cash)



                                   2
      Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 3 of 21



                   Tu Gas
                   Laurel Avenue
                   Bayamon, Puerto Rico

                   Aurofa Tire Center
                   Laurel Avenue
                   Bayamon, Puerto Rico

                   Laboratorio Lomas Verdes
                   Laurel Avenue
                   Bayamon, Puerto Rico

                   (Hereafter collectively referred to, “the sidewalk and parking
                   areas” or “the Facility”).

2.   Plaintiff seeks injunctive and declaratory relief, attorney fees and costs, against

     each Co-Defendant (hereinafter collectively referred to as “Defendant” or

     “Defendants”), pursuant to the Americans with Disabilities Act of 1990 (42 U. S.

     C. §12131 et seq. and 42 U.S.C. §§ 12101 et seq.) (“ADA”).


                                   JURISDICTION


3.   This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343 for ADA

     claims.

4.   Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.

                                        VENUE

5.   All actions complained of herein take place within the jurisdiction of the United

     States District Court for the District of Puerto Rico, and venue is invoked

     pursuant to 28 U.S.C. § 1391(b), (c).

6.   Defendants own, operate, and/or lease the subject sidewalk and parking space,

     and consist of a person (or persons), firm, and/or corporation.

7.   Plaintiff requires the use of a wheelchair when traveling about in public.

     Consequently, Plaintiff is “physically disabled,” as defined by all applicable

                                             3
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 4 of 21



     United States laws, and a member of the public whose rights are protected by

     these laws.

                                            FACTS

8.   The Facility is a public side walk and parking spaces used in fact as a parking

     space by many public accommodations owned and/or operated by the

     defendants, facilities that are open to the public, which are intended for

     nonresidential use and whose operation affects commerce. Plaintiff lives in Toa

     Alta, Puerto Rico, and A.V.R.’s school (Mariano F. Balseiro) is within walking

     distance of the Facility (see image below). Prior to instituting this action, Plaintiff

     used the public sidewalk and visited or attempted to use the public side walk

     and parking spaces therein more than once.




9.   Plaintiff’s mother drives A.V.R. to her school from Monday through Friday.

     Because this is her daily route daily, she is well aware of the barriers (both

     physical and intangible) that interfere with, if not outright denies, A.V.R.’s ability

                                            4
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 5 of 21



      to use and enjoy the sidewalk or the goods, services, privileges and

      accommodations offered at the various facilities that share a common sidewalk

      and A.V.R.’s inability to properly use the public sidewalk.

10.   While able-bodied individuals can have (i) access to the public accommodations

      using the public sidewalk and (ii) use the sidewalk, A.V.R., in contrast, cannot do

      not so because of the following barriers established and maintained by Co-

      Defendant City of Bayamon and Co-Defendant Commonwealth of Puerto Rico:

         a) The sidewalk does not comply with the required width. Sidewalk width

            requirements exist to make sure sidewalks are adequate for use by

            wheelchair-bound individuals. The minimum width for an ADA-

            compliant sidewalk is 36 inches (3 feet), though sidewalks can be

            constructed wider than this. If sidewalks are less than 60 inches (5 feet)

            across, passing spaces must be constructed at set intervals. These passing

            spaces must measure at least 60 inches on all sides, and must be located at

            least every 200 feet.

         b) The sidewalk does not comply with the required surface texture. Surface

            textures are important to ensure disabled individuals with mobility

            devices can safety traverse the sidewalk. The texture of a sidewalk must

            be firm, stable and slip-resistant. Care should be taken to ensure any

            concrete finishing meets these requirements. Additionally, any grates inset

            into the sidewalk must comply; to ensure that mobility devices do not get

            stuck, any openings in the grate can be no larger than ½ inch across.

         c) The sidewalk does not meet slope requirements. A sidewalk must have a

            slope of less than 1:20; otherwise it will be considered a ramp, and will be



                                           5
Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 6 of 21



    subject to a different set of ADA standards. Further, any changes to

    elevation in the sidewalk must be considered. An increase in elevation of

    more than ½ inch will require the construction of a ramp, elevator or other

    compliant facility.

 d) The sidewalk does not comply with the curb ramp requirements. Curb

    ramps are required wherever a sidewalk crosses a curb. This is

    particularly important at street intersections, where individuals will

    interact with traffic, such as Nogal Avenue. These ramps must have a

    slope of less than 1:12, must be at least 36 inches wide and must contain a

    detectable warning device with a raised dome surface and contrasting

    color. Ramps must not project into the street, and where there is a marked

    crosswalk, the ramp must be contained entirely in the width of the

    crosswalk.

 e) The sidewalk does not comply because of obstructions. While sidewalks

    may be located near obstructions, such as telephone or electric poles, if

    such obstructions exist, the sidewalk must be constructed to allow the

    minimum width requirement of 36 inches between the edge of an

    obstruction and the edge of the sidewalk. In some cases, if a sidewalk

    cannot be constructed to comply with this guideline, the obstruction may

    need to be removed or relocated. The followings obstructions are found

    were identified at the subject sidewalk:

        i. Motor vehicles. Co-Defendant City of Bayamon and/or Co-

           Defendant Commonwealth of Puerto Rico granted express or

           implied permission to the following business to obstruct the public

           sidewalk by using the subject sidewalk as a parking space: Beauty
                                  6
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 7 of 21



                   Solutions Beauty Supplies, Chegüis Pub, Libreria El Regional,

                   Instituto de Terapia Integral, H & R Block, Expreso Cash, Tu Gas,

                   Aurofa Tire Center, and Laboratorio Lomas Verdes, among others.

                ii. Electric/telephone/utility poles.

               iii. Walls.

               iv. Infrastructure for advertisement, both movable property and fixed.

11.   Co-Defendant [1] Beauty Solutions Beauty Supplies, Co-Defendant [2] Chegüis

      Pub, Co-Defendant [3] Libreria El Regional (owner of the building only,

      excluding the operator of the Facility, Libreria Regional: La Casa del Maestro y el

      Estudiante, Inc.), Co-Defendant [4] Instituto de Terapia Integral, Co-Defendant

      [5] H & R Block, Co-Defendant [6] Expreso Cash, Co-Defendant [7] Tu Gas, Co-

      Defendant [8] Aurofa Tire Center, and Co-Defendant [9] Laboratorio Lomas

      Verdes, interference with A.V.R.’s right to use the sidewalk, as they obstruct the

      public sidewalk for financial gain with the express or implied consent of City of

      Bayamon and Commonwealth of Puerto Rico. What is more, the defendant do

      not provide ADA compliant accessible parking spaces. However, able-bodied

      individuals are provided parking spaces (that obstruct the sidewalk), as the

      images below corroborate.




                                           7
Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 8 of 21




                              8
Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 9 of 21




                              9
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 10 of 21




12.   Prior to instituting this action, A.V.R.’s mother parked in a space designated as

      accessible and sidewalk located in front of a business known as Libreria El

      Regional. The parking space or sidewalk was sloped, making it unnecessarily

      difficult for A.V.R. to exit the vehicle. As a result, A.V.R. had to stay in the

      vehicle because of safety concerns and to avoid a potential psychical injury.

      A.V.R.’s mother observed more closely and in more detail that the surface of the

      sidewalk (and parking spaces) were uneven and cracked near Libreria El

      Regional.

13.   The barriers identified in paragraph 12 herein are only those that Plaintiff

      personally encountered near Libreria El Regional. However, A.V.R.’s teacher’s at

      Mariano F. Balseiro school made an extracurricular activity that involved going

      around the community using the sidewalk. Because of the discriminatory

      barriers, A.V.R. was unable to have “full and equal” access to the public

      sidewalk, and A.V.R.’s teacher, A.V.R.’s friends at schoo, A.V.R.’s mother can


                                          10
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 11 of 21



      corroborate this unfortunate event in which A.V.R. was excluded because of the

      barriers at the sidewalk (and surrounding areas). It is Plaintiff’s intention to

      eliminate all barriers which exist at the subject sidewalk, even though she does

      not have the technical knowledge to identify all barriers to access at this stage of

      the litigation. Leave to amend will be sought in due course and Plaintiff will

      point out all discriminatory barriers to access at the sidewalk.

14.   The sidewalk is illegally used by Co-Defendant Beauty Solutions Beauty

      Supplies, Co-Defendant Chegüis Pub, Co-Defendant Libreria El Regional, Co-

      Defendant Instituto de Terapia Integral, Co-Defendant H & R Block, Co-

      Defendant Expreso Cash, Co-Defendant Tu Gas, Co-Defendant Aurofa Tire

      Center, and Co-Defendant Laboratorio Lomas Verdes because of their own

      illegal discriminatory actions and also as a result of the unlawful policies and

      practices of Co-Defendant City of Bayamon and Co-Defendant Commonwealth

      of Puerto Rico.

15.   Plaintiff was, and continues to be, deterred from visiting the sidewalk and

      parking areas, and adjacent business, because Plaintiff knows that the sidewalk

      and parking areas were and are unavailable to Plaintiff due to A.V.R.’s physical

      disability. At the same time, Plaintiff was, and continues to be, deterred from

      visiting the business of each Co-Defendant because of the lack of accessible

      parking spaces at each business, despite that parking space is, in fact, provided to

      the able-bodied community.

16.   Defendants knew, or should have known, that these elements and areas of the

      sidewalk and parking areas were inaccessible, violate federal law, and interfere

      with (or deny) access to the physically disabled. Moreover, Defendants have the


                                           11
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 12 of 21



      financial resources to remove these barriers from the sidewalk and parking areas,

      (without much difficulty or expense), and make the sidewalk and parking areas

      accessible to the physically disabled. To date, however, Defendants refuse to

      either remove those barriers or seek an unreasonable hardship exemption to

      excuse non-compliance.

17.   At all relevant times, Defendants have possessed and enjoyed sufficient control

      and authority to modify the sidewalk and parking areas to remove impediments

      to wheelchair access and to comply with the 2010 Standards for Accessible

      Design. Defendants have not removed such impediments and have not modified

      the sidewalk and parking areas to conform to accessibility standards. Defendants

      have intentionally maintained the sidewalk, parking areas, and businesses in its

      current condition and have intentionally refrained from altering the sidewalk,

      parking areas, and adjacent businesses so that it complies with the accessibility

      standards.

18.   Plaintiff further alleges that the (continued) presence of barriers at the sidewalk,

      parking areas, and adjacent businesses is so obvious as to establish Defendants

      discriminatory intent. On information and belief, Plaintiff avers that evidence of

      this discriminatory intent includes Defendants’ refusal to adhere to relevant

      building standards; disregard for the building plans and permits issued for the

      sidewalk, parking areas, and adjacent businesses; conscientious decision to

      maintain the architectural layout (as it currently exists) at the sidewalk, parking

      areas, and adjacent business; decision not to remove barriers from the sidewalk,

      parking areas, and adjacent businesses; and allowance that Defendants’ property

      continues to exist in its non-compliance state. Plaintiff further alleges, on


                                           12
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 13 of 21



      information and belief, that the sidewalk, parking areas, or adjacent businesses

      are not in the midst of a remodel, and that the barriers present at the sidewalk,

      parking areas, and adjacent business is not isolated (or temporary) interruptions

      in access due to maintenance or repairs.

19.   As one of the compromises involved in Congress passing and then President

      George H.W. Bush signing the ADA into law in 1990, enforcement of Title III, the

      public accommodation section, is almost entirely by private lawsuits. Although

      the U.S. Department of Justice has jurisdiction to enforce the ADA, there are no

      administrative agencies or federal “building inspectors,” and no costly

      bureaucracy to enforce the law, an economic factor that was appealing to both to

      “conservatives” (and “liberals,” to some extent) in 1990. Passage of the ADA in

      1990 was a compromise in this respect: attorney fees were made awardable per

      Section 505 to a prevailing disabled plaintiff, to encourage private attorneys to

      handle enforcement actions, rather than putting in place a potentially expensive

      bureaucracy to enforce this law. Encouraging competent attorneys to handle

      ADA cases is necessary for effective enforcement of the law, as the U.S.

      Department of Justice has generally not involved in individual plaintiff cases, or

      enforcement of the “readily achievable” standard, at least not in Puerto Rico.

      The importance of encouraging ADA cases, and recognition that ADA carry out

      an important role as private attorney general, was underscored by Northern

      District Chief Judge Thelton Henderson in Walker v. Carnival Cruise Lines, 107

      F. Supp. 2d 1135, 1140 (N.D. Cal. 2000):

      There can be no question that the Americans With Disabilities Act, passed in 1990,
      established as law the nation's interest in eradicating the bigotry and barriers faced by
      individuals with disabilities. 42 U.S.C. § 12102 et. seq. (hereafter "ADA"). In fact, the
      ADA states its first goal as being "to provide a clear and comprehensive national

                                              13
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 14 of 21



      mandate for the elimination of discrimination against individuals with disabilities." See
      42 U.S.C. § 12101(b)(1) (1999). The ADA creates the possibility that successful
      plaintiffs may establish permanent changes in the design and physical configuration of
      structures to better accommodate the disabled. 42 U.S.C. § 12101(a)(5). The benefits of
      such changes clearly redound not only to the plaintiffs themselves, but to similarly
      situated disabled persons, and the entire society at large. As a result, plaintiffs or
      plaintiff classes who bring suit pursuant to the ADA do so in the role of "private
      attorneys general" who seek to vindicate "a policy `of the highest priority.'" See
      Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 417, 98 S.Ct. 694, 698, 54
      L.Ed.2d 648. See also Bruce v. City Of Gainesville, Ga., 177 F.3d 949, 951 (11th
      Cir.1999) (discussing ADA plaintiffs as private attorneys general); Rosenberg v.
      Merrill Lynch, Pierce, Fenner & Smith, Inc., 170 F.3d 1, 11 (1st Cir.1999);

      For example, successful ADA plaintiffs confer a tremendous benefit upon our society at
      large, in addition to the attainment of redress for their personal individual injuries,
      successful ADA plaintiffs, like plaintiffs under Title VII, are entitled to 42 U.S.C.
      section 1988's fee shifting provision. See 42 U.S.C. § 1988. As the Eleventh Circuit
      recently has explained,

             "[i]n Title VII cases as well as cases under the ADA, the enforcement of civil
             rights statutes by plaintiffs as private attorneys general is an important part of
             the underlying policy behind the law. Such a policy ensures an incentive for
             `impecunious' plaintiffs who can ill afford to litigate their claims against
             defendants with more resources...."

The United States Department of Justice has also supported the necessity of private

suits under the ADA:

      Private plaintiffs play an important role in enforcing the ADA, particularly in the

      area of public accommodations, which includes a large number of entities. See 42

      U.S.C. 12188(a)(1). The United States could not investigate every place of public

      accommodation in the country to determine if it is in compliance with the ADA.

      Effective enforcement of Title III, therefore, depends upon a combination of suits

      by the United States and litigation by individuals with disabilities who are aware

      of and encounter violations in their local communities. The United States

      therefore has an interest in ensuring that the standing of private plaintiffs to sue

      under Title III is not unduly restricted. {From U.S. Department of Justice amicus




                                              14
        Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 15 of 21



       brief in Chapman v. Pier 1 Imports (US), Inc., 631 F.3d 939 (9th Cir. 2011)} See
                                                                                      1




       also, Suarez-Torres et al v. Restaurantes Fridas, Inc., Civil No. 16-1912 (FAB)

       (CVR) (Docket No. 12) (“ADA complaints by private persons are the primary

       method of obtaining compliance with the law); Fiedler v. Ocean Properties, Ltd.,

       683 F. Supp. 2d 57, 71-72 (D. Me. 2010) (same).

                                       CAUSE OF ACTION

                             Americans with Disabilities Act of 1990

                          Denial of “Full and Equal” Enjoyment and Use

20.    Plaintiff incorporates the allegations contained in paragraphs 1 through 18.

21.    Title II forbids any “public entity” from discriminating based on disability; and

       Section 504 applies the same prohibition to any federally funded “program or

       activity.” 42 U. S. C. §§12131–12132; 29 U. S. C. §794(a). A regulation

       implementing Title II requires a public entity to make “reasonable modifications”

       to its “policies, practices, or procedures” when necessary to avoid such

       discrimination. 28 CFR §35.130(b)(7) (2016); see, e.g., Alboniga v. School Bd. of

       Broward Cty., 87 F. Supp. 3d 1319, 1345 (SD Fla. 2015) (requiring an

       accommodation to permit use of a service animal under Title II). By reason of her

       disability, A.V.R. has been and continues to be denied "participation in ... the

       benefits of the services, programs, or activities of" the City of Bayamon. 42 U.S.C.

       § 12132. She is unable to use Bayamon’s public streets See, e.g., Kinney v.

       Yerusalim, 9 F.3d 1067 (3d Cir.1993) (streets and sidewalks were city services);

       Tyler v. City of Manhattan, Kan., 857 F.Supp. 800 (D.Kan. 1994) (streets and




1
 The U.S. Department of Justice amicus brief in Chapman is available at:
https://www.justice.gov/sites/default/files/crt/legacy/2010/12/14/chapman.pdf

                                               15
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 16 of 21



      sidewalks were services of city); Concerned Parents, 846 F.Supp. 986

      (recreational programs were "service, program, or activity" of city).

22.   Co-Defendant City of Bayamon and Commonwealth failed to install proper curb

      cuts and ramps in accordance with 28 C.F.R. § 35.151. As to this allegation,

      Plaintiff note that Title II, 42 U.S.C. § 12132, is enforceable through a private

      cause of action. Barnes v. Gorman, 536 U.S. 181, 184-85, 122 S.Ct. 2097, 153

      L.Ed.2d 230 (2002); Parker v. Universidad de Puerto Rico, 225 F.3d 1, 8 (1st

      Cir.2000) ("Although Title II does not expressly authorize a private cause of

      action, it adopts the remedial scheme of Title VI of the Civil Rights Act of 1964,

      under which there is an implied private cause of action."). This private right of

      action exists under § 203 of Title II, 42 U.S.C. § 12133, and derives from the fact

      that § 203 ultimately adopts the remedies, procedures, and rights set forth in Title

      VI, which, as noted, is itself enforceable through a private cause of action. Barnes,

      536 U.S. at 185, 122 S.Ct. 2097. Plaintiffs' claims in this regard are based upon

      defendants' failure to meet the requirements of 28 C.F.R. § 35.151, which was

      promulgated pursuant to 42 U.S.C. § 12134 to effectuate § 202. Section 202 of Title

      II does not merely prohibit intentional discrimination. It also imposes on public

      entities the requirement that they provide qualified disabled individuals with

      meaningful access to public services, which in certain instances necessitates that

      public entities take affirmative steps to remove architectural barriers to such

      access in the process of altering existing facilities. 28 C.F.R. § 35.151 is a

      regulation adopted by the Attorney General at Title II's express direction that

      effectuates this aim. As such, the regulation is enforceable through Title II's




                                           16
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 17 of 21



      private cause of action available under § 203. Therefore, A.V.R. do have a private

      cause of action against defendants for failing to comply with 28 C.F.R. § 35.151

23.   Co-Defendant City of Bayamon and Commonwealth failed to adopt a transition

      plan pursuant to 28 C.F.R. § 35.150(d).

24.   Title III of the ADA holds as a “general rule” that no individual shall be

      discriminated against on the basis of disability in the full and equal enjoyment

      (or use) of goods, services, facilities, privileges, and accommodations offered by

      any person who owns, operates, or leases a place of public accommodation. 42

      U.S.C. § 12182(a).

25.   Co-Defendant Beauty Solutions Beauty Supplies, Co-Defendant Chegüis Pub,

      Co-Defendant Libreria El Regional, Co-Defendant Instituto de Terapia Integral,

      Co-Defendant H & R Block, Co-Defendant Expreso Cash, Co-Defendant Tu Gas,

      Co-Defendant Aurofa Tire Center, and Co-Defendant Laboratorio Lomas Verdes,

      do not provide ADA compliant accessible parking spaces and thus, these Co-

      Defendants —whose purported parking spaces are a common, shared sidewalk—

      discriminated against A.V.R. by denying her “full and equal enjoyment” and use

      of the goods, services, facilities, privileges and accommodations of available at

      their businesses during her visit to the area and because of each incident of

      deterrence.

            Failure to Remove Architectural Barriers in an Existing Facility

26.   The ADA specifically prohibits failing to remove architectural barriers, which are

      structural in nature, in existing facilities where such removal is readily

      achievable.




                                           17
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 18 of 21




27.   When an entity can demonstrate that removal of a barrier is not readily

      achievable, a failure to make goods, services, facilities, or accommodations

      available through alternative methods is also specifically prohibited if these

      methods are readily achievable.

28.   Here, Plaintiff alleges that Defendants can easily remove the architectural

      barriers at the sidewalk, parking space, and adjacent business without much

      difficulty or expense, and that Defendants violated the ADA by failing to remove

      those barriers, when it was readily achievable to do so.

29.   In the alternative, if it was not “readily achievable” for Defendants to remove the

      Facility’s barriers, then Defendants violated the ADA by failing to make the

      required services available through alternative methods, which are readily

      achievable.

                    Failure to Design and Construct an Accessible Facility

30.   Plaintiff alleges on information and belief that the Facility was designed and

      constructed (or both) after January 26, 1992 – independently triggering access

      requirements under the ADA.

31.   The ADA also prohibits designing and constructing facilities for first occupancy

      after January 16, 1993, that aren’t readily accessible to, and usable by, individuals

      with disabilities when it was structurally practicable to do so.

32.   Here, Defendants violated the ADA by designing and constructing (or both) the

      sidewalk, parking spaces, and adjacent business in a manner that was not readily

      accessible to the physically disabled public – including Plaintiff – when it was

      structurally practical to do so.

                         Failure to Make an Altered Facility Accessible


                                           18
       Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 19 of 21




33.   Plaintiff alleges on information and belief that the sidewalk and parking spaces

      were modified after January 26, 1992, independently triggering access

      requirements under the ADA.

34.   The ADA also requires that facilities altered in a manner that affects (or could

      affect) its usability must be made readily accessible to individuals with

      disabilities to the maximum extent feasible.

35.   Here, Defendants altered the sidewalk and parking spaces in a manner that

      violated the ADA and was not readily accessible to the physically disabled

      public – including Plaintiff – to the maximum extent feasible.

                      Failure to Modify Existing Policies and Procedures

36.   The ADA also requires reasonable modifications in policies, practices, or

      procedures, when necessary to afford such goods, services, facilities, or

      accommodations to individuals with disabilities, unless the entity can

      demonstrate that making such

      modifications    would    fundamentally     alter   their   nature.    42   U.S.C.   §

      12182(b)(2)(A)(ii).

37.   Here, Defendants violated the ADA by failing to make reasonable modifications

      in policies, practices, or procedures at the sidewalk and parking areas, when

      these modifications were necessary to afford (and would not fundamentally alter

      the nature of) these goods, services, facilities, or accommodations.

38.   Plaintiff seeks all relief available under the ADA (i.e., injunctive relief, attorney

      fees, costs, legal expense) for these aforementioned violations.

                                PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for:


                                           19
    Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 20 of 21



A. A declaratory judgment that Defendant is in violation of the specific

   requirements of Title II and Title III of the ADA described above, and the

   relevant implementing regulations of the ADA, in that the subject sidewalk and

   parking space area, as described above, are not fully accessible to, and

   independently usable by, individuals who use wheelchairs or limited mobility;

B. A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504

   (a) which directs Defendants to take all steps necessary to remove the

   architectural barriers described above and to bring its facilities into full

   compliance with the requirements set forth in the ADA, and its implementing

   regulations, so that the sidewalk and the parking spaces are fully accessible to,

   and independently usable by, individuals who use wheelchairs or individuals

   with limited mobility, and which further directs that the Court shall retain

   jurisdiction for a period to be determined after Defendant’s facilities come into

   compliance with the relevant requirements of the ADA to ensure that Defendant

   has adopted and is following an institutional policy that will in fact cause

   Defendant to remain fully in compliance with the law;

C. Payment of costs of suit;

D. Payment of reasonable attorneys’ fees;

E. The provision of whatever other relief the Court deems just, equitable and

   appropriate.


                               RESPECTFULLY SUBMITTED,

                               /S/JOSE CARLOS VELEZ-COLÓN, ESQ.
                               USDC-PR NO.: 231014
                               jcvelezcolon@gmail.com

                               PO BOX 2013

                                       20
Case 3:16-cv-02625-SCC Document 9 Filed 03/03/17 Page 21 of 21



                      BAYAMON PR 00960

                      TEL: (787) 599-9003

                      Attorney for Plaintiffs




                                21
